                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


NETLIST, INC.                              Civil Case No. 2:22cv00293-JRG
                                           (Lead Case)
           Plaintiff,
                                           JURY TRIAL DEMANDED
v.

SAMSUNG ELECTRONICS CO., LTD, et al.

           Defendants.


NETLIST, INC.                              Civil Case No. 2:22cv-00294-JRG
                                           (Member Case)
           Plaintiff,
                                           JURY TRIAL DEMANDED
v.

MICRON TECHNOLOGY TEXAS, LLC, et al.

           Defendants.


                   SAMSUNG’S MOTION TO COMPEL
     A COMPLETE RESPONSE TO SAMSUNG’S DAMAGES INTERROGATORY




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I.      INTRODUCTION

        Netlist should be compelled to provide a complete response to Samsung’s interrogatory

seeking its damages contention, including at least identifying: (1) how the alleged benefits of the

Asserted Patents would allegedly impact the price or profit of the accused products and by how

much; (2) how the parties to the hypothetical negotiation would apportion any such impact on

price or profit; and (3) any documents supporting Netlist’s contention. Netlist’s current response

to Interrogatory No. 8 indicates that it will advance a damages theory

                                                              .” But at the same time, Netlist is

withholding key, factual information about its damages claims that would permit Samsung to

challenge, question, and rebut these claims with additional evidence during fact discovery.

        Netlist’s litigation by ambush strategy is precisely the type of conduct that discovery and

disclosure obligations are meant to avoid. While Netlist was required to provide this information

from the outset of the case in its initial disclosures, it failed to do so. Instead, Netlist’s initial

disclosures merely stated “Netlist will rely on one or more damages experts and, therefore, will

provide its computation of damages at the time for expert disclosures.” With this failure from

the outset, Samsung even served an interrogatory seeking this information (which was already

required to be disclosed), and explained on numerous occasions the type of information that it is

seeking. But Netlist continues to refuse to provide complete information on these points.

Instead, Netlist provides only vague information about some alleged benefits without explaining

their impact on the value of the Accused Products. Furthermore, Netlist cites no documents in

support of its contentions related to the alleged benefits of the Asserted Patents. With Netlist’s

opening expert reports due next month, it is not credible that Netlist has not determined how to

quantify the alleged benefits of the Asserted Patents and has not identified any documents




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without the need for judicial intervention. Most recently, on September 22, 2023, the parties met

and conferred regarding Netlist’s deficient response to Interrogatory No. 8, and Netlist agreed to

supplement its response within two weeks. Id., ¶ 8. Netlist supplemented on October 6, 2023,

but its response remains deficient—it does not identify: (1) how the alleged benefits of the

Asserted Patents would allegedly impact the price or profit of the accused products and by how

much; (2) how the parties to the hypothetical negotiation would apportion any such impact on

price or profit; and (3) any documents supporting Netlist’s contention. Id., ¶ 9.

III.   LEGAL STANDARD

       In general, parties may obtain discovery regarding any matter, not privileged, that is

relevant to the claim or defense of any party. Fed. R. Civ. P. 26. “Once the moving party

establishes that the materials requested are within the scope of permissible discovery, the burden

shifts to the party resisting discovery to show why the discovery is irrelevant, overly broad,

unduly burdensome, or oppressive, and thus should not be permitted.” SSL Servs., LLC v. Citrix

Sys., Inc., No. 08-cv-158, 2010 WL 547478, at *2 (E.D. Tex. Feb. 10, 2010).

       Contention interrogatories “serve an important purpose in helping to discover facts

supporting the theories of the parties. Answers to contention interrogatories also serve to narrow

and sharpen the issues thereby confining discovery and simplifying trial preparation.” Woods

DeAngelo Marine Exhaust Inc., 692 F.3d 1272, 1280 (Fed. Cir. 2012).

IV.    ARGUMENT

       A.      The Factual Basis of Netlist’s Claimed Damages Is Discoverable

       The facts underlying Netlist’s damages contentions are highly relevant, in Netlist’s

control, and not burdensome to produce. Netlist should be compelled to disclose: (1) how the

alleged benefits of the Asserted Patents would allegedly impact the price or profit of the accused




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products and by how much; (2) how the parties to the hypothetical negotiation would apportion

any such impact on price or profit; and (3) any documents supporting Netlist’s contention.

         Netlist cannot credibly argue that the requested discovery is not relevant, not currently

within its control, or not easy to produce. Indeed, Federal Rule 26(a)(1)(A)(iii) required Netlist

to identify the documents or evidentiary material on which damages are based, including

materials bearing on the nature and extent of damages, at the outset of the case.1 And although

the discovery order allows Netlist to rely on an expert to provide a relevant computation of

damages, Netlist’s expectation that it will rely on a damages expert does not absolve Netlist of its

obligation to identify the requested information and identify relevant documents. Indeed, the

discovery order requires Netlist to initially disclose the “legal theories and, in general, the factual

bases of the disclosing party’s clams or defenses.” Dkt. 56 at ¶ 1(c). In any event, Netlist’s

damages report(s) are due next month. See Dkt. 110 at 4. Netlist is surely aware of factual

information and documents on which it intends to rely for those reports and has provided no

justification for withholding that information. Moreover, Netlist is surely aware of, and can

identify documents it contends supports its damages contention.

         B.      Samsung Is Seeking Fact, Not Expert, Discovery

         Netlist’s primary objection to providing the requested discovery appears to be that it

prematurely calls for expert opinion. See Ex. A at 29 (purporting to “incorporate[] by reference

the expert report(s) that it will serve in accordance with the Court’s Docket Control Order”).

However, Samsung is not seeking opinions on the precise dollar amount of damages, nor is

Samsung seeking detailed opinions on expert methodologies. Rather, Samsung is entitled to

know the facts on which Netlist intends to rely in order to compute damages, including an



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    Samsung reserves the right to move to strike any late-disclosed damages theory.


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fact, Netlist has indicated that it will move to amend the schedule to further abridge the time

between opening and rebuttal reports. Samsung will be prejudiced in its ability to conduct any

surveys, testing, and/or statistical modeling (e.g., regression analysis) to rebut any alleged

quantification of any purported benefits Netlist contends are provided by the Asserted Patents.

Netlist cannot legitimately withhold this information; the Court should grant Samsung’s motion.

V.     CONCLUSION

       Samsung respectfully requests that the Court compel Netlist to provide a complete

response to Samsung’s Interrogatory No. 8, including identifying: (1) how the alleged benefits of

the Asserted Patents would allegedly impact the price or profit of the accused products and by

how much; (2) how the parties to the hypothetical negotiation would apportion any such impact

on price or profit; and (3) any documents supporting Netlist’s contention.



Date: October 12, 2023                            Respectfully submitted,

                                                  /s/ Daniel A. Tishman

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and Samsung Semiconductor, Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on October 12, 2023. As of this date, all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A) and by

electronic mail.

                                                     /s/ Daniel A. Tishman



                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rules CV-7(h) and (i), counsel for the parties met and conferred

telephonically on August 18, 2023, and September 22, 2023. In the most recent conference,

Jason Sheasby, Yanan Zhao, and Sam Baxter attended for Plaintiff. Ruffin Cordell, Daniel

Tishman, and Melissa Smith attended for Defendants. The parties discussed their positions on

this motion, and agreed that if Netlist’s October 6, 2023 supplemental response did not

adequately address Samsung’s complaints, then the parties are at an impasse. Because Netlist’s

October 6, 2023 supplemental response did not adequately address Samsung’s complaints, the

parties are at an impasse, leaving an open issue for the Court to resolve.

                                                      /s/ Daniel A. Tishman




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